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                                                       UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO.: 1:18-cv-24100-MGC
   DIGNA VINAS,

          Plaintiff,
   vs.

   THE INDEPENDENT ORDER OF
   FORESTERS,

         Defendant.
   ______________________________/

     PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE IN OPPOSITION TO
   PLAINTIFF’S MOTION TO AMEND THE SECOND AMENDED COMPLAINT BY
               INTERLINEATION TO CONFORM TO EVIDENCE

          Plaintiff, Digna Vinas (“Vinas”), by and through undersigned counsel and pursuant to

   Federal Rule of Civil Procedure 7 and S.D. Fla. L.R. 7.1(c)(1), hereby files her Reply to

   Defendant’s Response in Opposition to Plaintiff’s Motion to Amend the Second Amended

   Complaint by Interlineation to Conform to Evidence (D.E. 121) and states:

          1.      Defendant’s strategy in its Response to Plaintiff’s Motion to Amend by

  Interlineation to Conform to Evidence (“Motion to Amend”) is to once again (for the third

  time), re-argue the entire merits of its case and regurgitate the same legal positions, claims, and

  arguments already rejected by this Court on two prior occasions.

          2.      Defendant’s assertion of lack of good cause is meritless. “Diligence is the key

  to satisfying the good cause requirement”. De Varona v. Discount Auto Parts, LLC, 285

  F.R.D. 671, 672–73 (S.D. Fla. 2012). The present motion does not seek to re-open discovery

  or add any claim that is not 100% already of record and fully discovered. In fact, the purpose

  was solely to bring to the Court’s attention, (because of the pending Motion to Dismiss) an

  additional single allegation of evidence that had recently been adduced during discovery
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  supporting Plaintiff’s claim for Fraud in the Inducement. Because the testimony was taken

  after the Amended Complaint was filed but before the Court ruled on the Motion to Dismiss,

  this was an allegation the Court would have no other way to know about.

          3.      As such, Plaintiff sought to add a single paragraph “36a” that supplements the

  fraudulent statements made by Foresters to Mr. Vinas to induce him to purchase the policy.

  The proposed additional paragraph states:

          36a.    Furthermore, at all times material hereto and prior to the sale of
                  the policy, Foresters, through its sales agent Jazmin Lightbourn,
                  explained how the contestability period worked and represented
                  that Foresters would not deny a claim or rescind the policy for
                  inaccuracies in the Application so long as Mr. Vinas answered
                  the Application questions truthfully, i.e. to his best knowledge
                  and belief.
   The evidence supporting the allegation was adduced at the depositions of Foresters’

   Corporate Representative Douglas Parrot taken on October 13, 2020 and of Ms. Vinas taken

   on October 16, 2020. The Motion for Leave to Amend to Conform with the Evidence was

   filed on November 19, 2020 (D.E. 120).

          4.      Further, while this is a 2018 case, the only remaining liability issue, Fraud in

   the Inducement, was raised for the first time in March 2020.1 This was immediately following

   the depositions of Foresters’ witnesses that gave rise to the first evidence of the cause of action.

   Foresters has already acknowledged its liability for its original breach of contract and paid

   some of the damages caused by its conduct. As such, with the exception of Foresters’ liability

   for consequential damages and attorney’s fees, that entire portion of the case is concluded and




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            In fact, this is the first “amendment” of Plaintiff’s Fraud in the Inducement Count,
   which as stated above is solely informational for the Court’s benefit.

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   the only portion remaining is the Fraud in the Inducement claim that has only been pending

   since March.

          5.      Foresters’ claim that it will be “prejudiced” by this conformation to the

   evidence is so completely empty, it could not cite a single example of discovery it would like

   to undertake that hasn’t already been completed or provide the Court with any action it is

   supposedly prevented from taking by Plaintiff’s addition of a paragraph 36a.

          6.      Appallingly, in a desperate attempt to bolster its claim of prejudice, Foresters’

   opposition was written as though the carrier had never heard the name “Jazmin Lightbourn”.

   Ms. Lightbourne’s name and her role in this case appears nine times in Foresters’ initial

   disclosure documents regarding the Breach of Contract action.            These include several

   references as Foresters’ sales “agent” or “producer”.

          7.      Foresters’ Response was further drafted as though Foresters had not taken a 7

   ½ hour deposition of Digna Vinas in which every issue of Jazmin Lightbourn’s status as a

   sales agent was examined with the proverbial “fine tooth comb”. In fact, Foresters’ counsel

   so exhaustively examined Ms. Vinas about the issue that counsel got tired of hearing Ms.

   Vinas’ answer and interrupted her to move on to another subject. Consider just an example

   of the testimony:

                  Q:     …what are you specifically claiming was falsely represented?

                  A:     That as long as we answered all the questions correctly and we
                         said the truth – and I know that we said the truth, because she
                         mentioned that a lot – and because it would still be paid.

                         If not – if it wasn’t going to be paid, we would never have left the
                         other insurance. … It was more reputable. Foresters would pay
                         even though it would be within the first two years, which we
                         thought it would never happen. …

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                 Q:      When you say “she” do you mean Jazmin Lightbourn?

                 A:      Jazmin and Foresters, because Jazmin was Foresters. As far as
                         we were concerned, when we talked to Jazmin, we were talking
                         to Foresters.

                 Q:      We’ll get through that quickly, but just answer the question. Was
                         there anyone, other than Jazmin Lightbourn, that you contend
                         made representations to you concerning the policy?

                 A:      As far as we were concerned, Jazmin –

                 Q:      I understand that’s your position.

                 MR. GREENE:            Don’t interrupt her.        Kristina please don’t
                 interrupt.
                                                     ...

                 THE WITNESS:          Because I called Foresters – we called Foresters.
                 Foresters gave Jazmin the number. When we talked to Jazmin, she only
                 said “Foresters this, Foresters that. Foresters will pay. Foresters is a
                 better company than American General. When I say “Jazmin,” I’m
                 saying “Foresters”.

   (See Vinas Depo excerpt, p. 112, l. 8 – p. 114, l. 24 attached hereto as Exhibit “A”). (Emphasis
   supplied).

          8.     Not coincidently, this is completely consistent with the testimony received from

   Foresters’ Corporate Representative, Doug Parrott, on the identical agency issue:

                 Q:      When a sales representative is going to a prospective insured’s
                         home, is it fair for that sales representative to advise the insured
                         that they are there on behalf of Foresters? Is that fair?
                 A:      That is correct.
                 Q:      From the prospective insured’s position, the prospective insured
                         is not expected to distinguish between whether that person is
                         technically employed by an intermediate agency but only selling
                         on behalf of Foresters or not, would that be true?
                 A:      I wouldn’t think so. They would have knowledge that this
                         person is representing Foresters.
                 Q:      And that’s the way Foresters wants it, right?
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                   A:     Correct.
   (See Parrot Depo. excerpt, p. 92, l. 13 – p. 93, l. 4 attached hereto as Composite Exhibit “B”).

   (Emphasis supplied).


                   Q:     … you agree with me that its necessary for the independent agent
                          to communicate with the prospective insured about the product
                          that they are looking to sell, does that sound reasonable?
                   A      That’s reasonable, yes.
                   Q:     And you agree with me that Foresters authorizes these people to
                          make accurate representations about Foresters products, correct?
                   A:     Correct.
                                                        …
                   Q:     And all of those representations are authorized by Foresters as
                          long as they are accurate representations; correct?
                   A:     That is correct.
   (Parrot Depo. excerpt, p. 40, l. 20 – p. 41, l. 11 attached hereto as Composite Exhibit “B”).

   (Emphasis supplied).

              9.   Foresters’ claim that Plaintiff misquoted Mr. Parrott and “deceived the Court”

   with citations to the above quotes (D.E. 121, p. 12), apart from being unprofessional, is likely

   attributable to Foresters’ frustration at the admissions made by its representative on the

   subject.2 As the above direct quotes reveal, Plaintiff’s characterization of Mr. Parrott’s

   testimony was accurate, and the issue of agency was raised, discovered and thoroughly

   examined. The question of Ms. Lightbourn’s status as an agent is a question to be resolved by


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            Similarly, it is both ironic and hypocritical that Defendant would accuse the Plaintiff
   of using its five page Motion to Amend as a basis to “… enhance her claim for attorney’s fees”
   given Foresters’ 21-page Response, the first eight pages of which walk the Court through the
   history of the case (for the fourth time) and the last four of which repeats Foresters’ identical
   arguments already rejected by this Court twice before.

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   the jury; not a basis for denying a motion to amend by interlineation, the only effect of which

   is to advise the Court of additional evidence to be presented.

           10.   Equally meritless is Foresters’ claim that Plaintiff’s decision not to depose Ms.

   Lightbourn somehow “[left] Foresters without an opportunity to question [Ms. Lightbourn]”.

   (D.E. 121, p. 14). Really?! Foresters obviously had the opportunity and ability to notice its

   own depositions and subpoena its own witnesses … including Ms. Lightbourn. In addition,

   one must wonder why Foresters failed to depose Ms. Lightbourn any time over the past two

   years while the breach of contract action was pending or during the past eight months since

   the fraudulent inducement count was pending. It is unpersuasive at best and disingenuous at

   worst for Foresters to claim prejudice for its own lack of discovery.

           11.   Second, as indicated in paragraph 6 above, Ms. Lightbourn has been well-

   known to Foresters since the beginning of this case. In fact, in Foresters’ response to first set

   of interrogatories dated July 8, 2019, the Defendant was asked to state the name, address and

   other identifying information of witnesses with relevant knowledge to the action. Among the

   names Foresters provided was Jazmin Lightbourn.            More significantly, however, Ms.

   Lightbourn was listed in the middle of six other Foresters’ employees with no address, but

   instead the specific instruction that if Plaintiff wished to contact the witnesses, “these

   individuals may be contacted through the undersigned attorney.” (See Defendant’s Answers to

   Interrogatories attached hereto as Exhibit “C”) (Emphasis supplied). Obviously, Foresters

   knew Ms. Lightbourn well enough that it refused to provide her address and instructed that

   Plaintiff should contact Ms. Lightbourn through Foresters’ counsel. It is quite unbelievable

   that Foresters can be heard today to complain about not being able to depose a witness they

   instructed Plaintiff not to contact except through their counsel’s office.
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            12.    In yet another example of irony, on pages 17 through 20, Foresters, in “shotgun

   fashion,” alleges Vinas’ Motion to Amend should be denied for: (i) shotgun pleading, (ii)

   failure to specifically state the relief to which Plaintiff is entitled and (iii) failure to allege fraud

   with particularity. Again, this “shotgun” approach to reeling off as many reasons for denying

   a motion as possible has already ben rejected by this Court.

            13.    Additionally, as should be clear to the Court, paragraph 36(a) is not meant to

   state a cause of action on its own. As Plaintiff has explained, it is a single additional fact

   meant to be read in conjunction with the other related paragraphs which, when taken together

   state a cause of action for fraudulent inducement.

           14.     Finally, Defendant’s futility and standing arguments seek to take advantage of

   the old proverb “third time’s a charm”. Defendant’s entire futility and standing arguments

   are a virtual “cut and paste” of the arguments already rejected by this Court when it granted

   Plaintiff’s leave to amend her Complaint (D.E. 90) and denied Defendant’s Motion to Stay

   Discovery (D.E. 100). Defendant’s arguments have no more merit now than they did when

   they were previously rejected. Accordingly, Plaintiff will resist the temptation to restate all of

   the arguments in opposition that this Court previously accepted. In in an abundance of

   caution, however, to the extent the Court is considering re-re addressing the issues, Plaintiff

   respectfully readopts pages 6 through 10 of D.E. 79 in opposition to the arguments set forth

   on pages 15 through 20 of Forester’s Response.

           WHEREFORE, Plaintiff, Digna Vinas, respectfully requests leave of this Court to

   amend the Second Amended Complaint by Interlineation to conform to evidence.




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY a true and correct copy of the foregoing has been electronically

   filed with the Court and a copy has been served on December 3, 2020 on: Kristina B. Pett,

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